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                   IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________
UNITED STATES OF AMERICA

         Plaintiff,
vs.                                                           Case No.: 2:23-cr-20191-MSN

EMMITT MARTIN, III,
TADARRIUS BEAN, DEMETRIUS
HALEY, DESMOND MILLS, JR.,
AND JUSTIN SMITH

         Defendant.

                         MOTION FOR EXTRAORDINARY RELIEF


      Come Now Defendant, Tadarrius Bean, by and through counsel, filing this Motion to for

Extraordinary Relief and in support thereof would show this Court the following, to wit:

      1. That on the 12th day of September 2023 Defendant Tadarrius Bean was indicted in the

         above referenced matter.

      2. On September 13, 2023, Defendant Bean appeared before the Court and an Order Setting

         Conditions of Release (ECF No.: 18) was entered. Said Order required Defendant Bean

         to submit to GPS monitoring that required him to meet all conditions per the referenced

         Order.

      3. That due to Defendant Bean complying with the Court’s and Probation Service conditions

         and not posing any risk of flight or danger, Counsel for the Defendant is requesting that

         the previously given conditions are altered.

      4. That if Defendant demonstrates full compliance with the modified conditions, including

         remaining within the designated district and adhering to his curfew, Defendant

         respectfully request that the Court eventually modifies the conditions of release by
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       removing GPS monitoring requirement while ensuring all other conditions remain in

       place.

   5. That Bean’s Probation Officer does not oppose the same.

   6. Recently, the position of Defendant Justin Smith conditions was amended to reflect the

       same relief.

   For the foregoing reasons, Defendant Bean hereby asks that this Court modify the conditions

by removing the GPS monitor requirements.



                                                             Respectfully submitted,

                                                             PERRY GRIFFIN, PC
                                                             /s/ John Keith Perry, Jr.
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                                 CERTIFICATE OF SERVICE
       I, John Keith Perry, certify that I have filed a true and correct copy of the above and
foregoing with the Clerk of the Court using the ECF system, which sent notification of such
filing to counsel of record.
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This the 21st day of February 2025.
                                                        /s/ John Keith Perry, Jr.________
                                                        JOHN KEITH PERRY, JR.
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